Case 2:15-cv-05346-CJC-E Document 438-39 Filed 10/09/20 Page 1 of 8 Page ID
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                Exhibit 1-//
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment


       U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                 Evidence Packet P.0712
Case 2:15-cv-05346-CJC-E Document 438-39 Filed 10/09/20 Page 2 of 8 Page ID
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                                                       Evidence Packet P.0713
Case 2:15-cv-05346-CJC-E Document 438-39 Filed 10/09/20 Page 3 of 8 Page ID
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Case 2:15-cv-05346-CJC-E Document 438-39 Filed 10/09/20 Page 4 of 8 Page ID
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Case 2:15-cv-05346-CJC-E Document 438-39 Filed 10/09/20 Page 5 of 8 Page ID
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Case 2:15-cv-05346-CJC-E Document 438-39 Filed 10/09/20 Page 6 of 8 Page ID
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Case 2:15-cv-05346-CJC-E Document 438-39 Filed 10/09/20 Page 7 of 8 Page ID
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Case 2:15-cv-05346-CJC-E Document 438-39 Filed 10/09/20 Page 8 of 8 Page ID
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                                                       Evidence Packet P.0719
